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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

GEORGE ANIBOWEI                                 )   Case No. ___________
        Plaintiff,                              )
                                                )
 v.                                             )
                                                )
LORETTA LYNCH, Attorney General                 )
of the United States, in her official capacity; )

JAMES B. COMEY, Director of the                )
Federal Bureau of Investigation,               )
in his official capacity;                      )
                                               )
CHRISTOPHER M. PIEHOTA,                        )
Director of the Terrorist Screening            )
Center; in his official capacity;              )
                                               )
NICHOLAS RASMUSSEN,                            )
Director of the National Counterterrorism      )
Center, in his official capacity;              )
                                               )
JEH JOHNSON, Director of the                   )
Department of Homeland Security, in            )
his official capacity;                         )
                                               )
R. GIL KERLIKOWSKE, Commissioner )
o f the United States Customs and Border       )
Protection, in his official capacity;          )
                                               )
PETER NEFFENGER, Administrator of the )
United States Transportation Security          )
Administration, in his official capacity; and, )
                                               )
SARAH R. SALDANA, Director of United )
States Immigration and Customs                 )
Enforcement; in her official capacity;         )
                                               )
        Defendants.                            )

                                    COMPLAINT

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                            NATURE OF THE ACTION
   1. This is an action for declaratory and injunctive relief against officers or

employees of agencies of the United States including officials or employees of

the Department of Homeland Security and its components, Customs and Border

Protection and Immigration and Customs Enforcement. On October 10, 2016,

Plaintiff arrived at the Dallas/Fort Worth International Airport after a weekend trip

to Canada. At his arrival gate to “receive” him were Officers of the United States

Customs and Border Protection, who asked Plaintiff to accompany them to an

interrogation room. At the interrogation room, the CBP Officers seized and

detained Plaintiff’s cell phone for “examination and copying”. Plaintiff was not

asked for his consent and was not presented with a search warrant. As a matter of

fact, Plaintiff vehemently objected to the “examination and copying” of his cell

phone without his consent or search warrant. Plaintiff challenges as a violation of

the First and Fourth Amendments the detention of his cell phone and the review,

copying, retention, and dissemination of its contents. Plaintiff also avers that the

materials seized by the government contain confidential information and that

Defendants’ review, retention, and disclosure of that information intrudes on

Plaintiff’s rights protected by the First Amendment. Plaintiff seeks a declaratory

judgment that the search and seizure violated the First and Fourth Amendments,

and a Court Order requiring Defendants to return or destroy any seized data in their

custody or control and to inform Plaintiff whether that data has been disclosed to

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other agencies or individuals.


                               Jurisdiction and Venue


1.           Under U.S. Const. Art. III §2, this Court has jurisdiction because

the rights sought to be protected herein are secured by the United States

Constitution. Jurisdiction is proper pursuant to 28 U.S.C. § 1331, Bivens v. Six

Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971),

et seq., 5 U.S.C. § 702, 5 U.S.C. § 706, the United States Constitution, and

federal common law.

          2. This action seeks declaratory relief pursuant to the Declaratory

 Judgment Act, 28 U.S.C. § § 2201‐02, Rules 57 and 65 of the Federal Rules of

 Civil Procedure, and pursuant to the general, legal, and equitable powers of this

 Court.

          3. This action also seeks damages pursuant to 28 U.S.C. § 1343(a)(4) and

 28 U.S.C. § 1357.

          4. A substantial part of the unlawful acts alleged herein were committed

within the jurisdiction of the United States District Court for the Northern

District of Texas.

          5. Venue is proper under 42 U.S.C. § 1391(e) as to all Defendants

 because Defendants are officers or employees of agencies of the United States


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 sued in their official capacity and because this judicial district is where a

 substantial part of the events or omissions giving rise to the claims occurred.

                                       Parties

         6.    Plaintiff George Anibowei is a United States Citizen. Plaintiff

 resides at 934 Colorado Drive, Allen, TX 75013. Plaintiff is a Texas licensed

 attorney, who is engaged in active and substantial practice of law with offices in

 Dallas, Texas. Plaintiff was licensed in Texas in 2002 and his Texas Bar Number

 is: 24036142. Although licensed in the State of Texas in 2002, Plaintiff has been

 an attorney since 1992, having been licensed in Nigeria before immigrating to

 the United States.

         7.    Defendant Lor etta Lyn c h is Attorney General of the United

 States. Defendant Lyn ch is being sued in her official capacity, only.

         8.    Defendant James B. Comey is Director of the Federal Bureau of

 Investigation (“FBI”). Defendant Comey is being sued in his official capacity,

 only.

         9.    Defendant Christopher M. Piehota is Director of the Terrorist

 Screening Center (“TSC”).       Defendant Piehota is being sued in his official

 capacity, only.

         10.   Defendant Nicholas Rasmussen is Director of the National

 Counterterrorism Center (“NCTC”). Defendant Rasmussen is being sued in his


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 official capacity, only.


          11.   Defendant Jeh Johnson is Director of the Department of Homeland

 Security. Defendant Johnson is being sued in his official capacity, only.

          12.   Defendant R. Gil Kerlikowske is Commissioner of the United

 States Customs and Border Protection (“CBP”). Defendant Kerlikowske is being

 sued in his official capacity, only.

          13.   Defendant Peter Neffenger is Administrator of the United States

Transportation Security Administration (“TSA”). Defendant Neffenger is being

sued in his official capacity, only.

          14.   Defendant S ar ah R. S aldan a is Director of the United States

Immigration and Customs Enforcement (“ICE”). Defendant Sa ldana is being

sued in her official capacity, only.

                              Factual Allegations

    15.         Sometime in September 2009, Plaintiff applied to the CBP for

participation in the Global Entry Trusted Traveler Program administered by the

CBP.

       16.      By correspondence dated November 1, 2012, the CBP approved

Plaintiff’s Application to participate in the Global Entry Trusted Traveler Program

with Membership # 982902958.

       17.      The approval letter advises the Plaintiff to closely adhere to the


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program requirements as any violation of law or regulation may lead to revocation

of program participation. After approximately three (3) years of active,

uninterrupted and compliant participation by Plaintiff in the CBP Global Entry

Trusted Traveler program, Plaintiff discovered to his greatest dismay, while

returning from a trip abroad on May 12, 2015 and attempting to use the Global

Entry Kiosk, that his Global Entry privileges had been revoked effective March 7,

2015. Significantly, the revocation was without any prior notice and/or opportunity

to rebut any derogatory or adverse information.

       18.    As indicated above, on or about May 12, 2015, upon his reentry into

the United States, Plaintiff was apprised by a CBP Global Entry Trusted Traveler

kiosk at the Airport that his membership in the Global Entry Trusted Traveler

program had been revoked on the ground that Plaintiff does not meet the program

eligibility requirements.

       19.   Thereafter, Plaintiff was singled out for secondary inspection by

agents of CBP and subjected to needless interrogation and rigorous search of his

person and luggage.

    20.      Copy of the letter of revocation dated March 7, 2015, is herewith

attached and incorporated herein by reference. As the revocation letter shows, the

ground for revocation is not only vague and ambiguous but very confusing




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    21.      Most importantly, Plaintiff is not aware and do not know of any

circumstance that may have rendered him ineligible for participation in the global

entry program. Plaintiff did not provide any false or incomplete information on his

global entry application. Plaintiff does not have any conviction for any criminal

offense and there are no pending criminal charges against Plaintiff. Plaintiff has

never violated any customs, immigration or agriculture regulations or laws in any

country. Plaintiff is not subject to inadmissibility to the United States under

immigrations laws. Plaintiff has never received any criminal pardon from any

country. To the best of Plaintiff’s knowledge, Plaintiff does not know of any

circumstances that has made him become a high risk and thereby ineligible for

participation in the program. Significantly and as indicated above, to the extent that

there is any adverse information against Plaintiff which has rendered him ineligible

for participation in the program, Plaintiff was not provided with any notice thereof

and/or an opportunity to rebut any such disqualifying and/or adverse information

before his privileges were revoked


       22.   Even before and Subsequent to the revocation of his global entry

privileges, on virtually each and every occasion during which Plaintiff re-entered

the United States after having traveled abroad, Plaintiff has been referred for

secondary inspection, detained, and questioned by agents of CBP with his luggage

and carry-on bag subjected to very thorough and rigorous search, much to the


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detriment, inconvenience, harassment and humiliation of Plaintiff. P l a i n t i f f

was also occasionally subjected to secondary security screening while leaving the

United States, and sometimes while outside of the United States during the course

of international travel

       23.       On one occasion, Plaintiff and his teenage son, who shares the same

name as the Plaintiff, were prevented from boarding a United Airlines flight from

Houston to Lagos, Nigeria and escorted to an interrogation room, detained and

questioned for approximately two hours consequently resulting in a flight delay of

approximately two hours. Plaintiff did not know that he had anything to do with the

two hour flight delay until a manager from United Airlines walked into the

interrogation room and asked one of the officers if it was okay to begin boarding

only for the officer to respond that it was okay because they were almost done with

the Plaintiff.

       24.       On another occasion, while travelling on Air Ethiopia via Canada to

Zimbabwe on vacation, Plaintiff was singled out for secondary inspection, detained

and questioned for almost five hours by officers of the Canada Border Services

Agency (CBSA) at the instance of the United States CBP. It is important to

emphasize that on this occasion, Plaintiff missed his international flight and because

the flight was not a daily flight, Plaintiff was stranded in Toronto, Ontario, Canada

for two days and was compelled to incur hotel bills of at least $400.00. To make



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matters worse, despite the immigration induced delay resulting in his missed flight,

Plaintiff was compelled to pay a whopping re-booking fee of $500.00 to continue on

his journey to Zimbabwe. It is pertinent to point out that as soon as the Canadian

authorities realize that Plaintiff will miss his connecting flight to Addis Ababa,

Ethiopia, they directed the airline to locate his checked in luggage and surrender the

luggage to them before taking off.

       25. These are only a few of the various instances in which Plaintiff was

subjected to secondary inspection and/or detained and questioned during the course

of international travel.

       26.    Importantly, following the Revocation of his Global Entry Privilege,

Plaintiff requested reconsideration of his Application into the Global Entry Trusted

Traveler program and by correspondence from the CBP Ombudsman dated March

11, 2016, the CBP Ombudsman acknowledged receipt of Plaintiff’s request for

reconsideration of his application into the Global Entry Trusted Traveler program,

and re-affirmed that Plaintiff does not meet the eligibility requirements for a

trusted traveler program for the reasons originally provided to Plaintiff in the

notice of revocation (which as previously indicated was because Plaintiff “…do

not meet the eligibility requirements for a Trusted Traveler program”).

    27.       Additionally, Plaintiff filed a Redress Request under #2232473 with

the CBP on the Department of Homeland Security – TRIP Website and provided



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all relevant information requested therein.

    28.      By correspondence dated June 30, 2016 from Deborah O. Moore,

Director, DHS Traveler Redress Inquiry Program Programs in response to Plaintiff

having submitted a Department of Homeland Security – TRIP Website Traveler

Inquiry Form, Plaintiff was advised that “DHS has researched and completed our

review of your case. Security Procedures and legal concerns mandate that we can

neither confirm nor deny any information about you which may be within federal

watch lists or reveal any law enforcement sensitive information. However, we have

made any corrections to records that our inquiries determined were necessary,

including, as appropriate, notations that may assist in avoiding incidents of

misidentification”

    29.      Notwithstanding the reassuring letter from the DHS TRIP Redress

Program Director, on October 6, 2016 Plaintiff travelled to Canada for vacation.

Upon arrival in Canada, Plaintiff was again singled out for secondary inspection,

detained and questioned for almost two hours by the Canadian Immigration and

Border Patrol authorities before he was granted admission into Canada. Upon

inquiry, Plaintiff was informed by the Canadian authorities that he had been singled

out at the instance of their United States counterparts

    30.      On October 10, 2016, Plaintiff arrived at the Toronto International

airport to board his flight to the United States. While going through the US



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Customs and Border Protection formalities, Plaintiff was yet again referred for

secondary inspection in Canada before he was eventually allowed to board his

return flight to the Dallas/Fort Worth International Airport

                     Seizure of Plaintiff’s Electronic Device

    31.      As indicated above, on October 10, 2016, after a short vacation in

Canada, Plaintiff arrived at the Dallas/Fort Worth International Airport on board

American Airlines Flight No. 2609.

    32.      Upon arrival at the gate and as passengers were getting ready to

disembark, the airline crew directed all passengers to return to their respective

seats as officers of DHS were at the gate to remove a passenger and that it was

important they did so in an orderly manner.

    33.      Almost immediately all passengers including the Plaintiff returned to

their assigned seats, one of the crew members walked up to the Plaintiff’s seat and

requested some identification. As soon as Plaintiff tendered his passport, he was

informed that the CBP officers were actually at the gate for the Plaintiff. Plaintiff

was then instructed to pick up his hand luggage and accompany the crew member

to the gate of the aircraft. The Plaintiff readily complied with the instruction and

followed the crew member to the gate.

    34.      Upon exiting the Plane, Plaintiff was accosted by armed officers of

the CBP who stated that they were with the Department of Homeland Security and



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requested that the Plaintiff accompany them. Despite repeated requests, the two

agents did not explain the reason or the authority for detaining Plaintiff. Instead,

they ordered the Plaintiff to place his cell phone in his pocket for “officer safety”

and proceeded to escort the Plaintiff like a common criminal through at least three

terminals before arriving at their final destination, which is an interrogation room

in Terminal D of the Dallas/Fort Worth International Airport

    35.      At the interrogation room, the agents ordered the Plaintiff to empty

and place all the content in his pocket on a table. The Plaintiff placed all the

contents of his pocket on the table as ordered. Thereafter, one of the agents took

Plaintiff’s cell phone and directed him to be seated and wait. When the agent

returned a short time later, she was no longer in possession of Plaintiff’s cellular

phone. When Plaintiff asked for his cell phone, he was informed that his cell

phone was being detained for “examination and copying”. Plaintiff was not asked

for his consent and was not presented with a search warrant. Nor was he provided

with any explanation of the purpose of the detention and copying. As authority for

taking his cell phone for examination and copying, he was simply handed a two

paged document entitled: Inspection of Electronic Device, copy of which is

herewith attached and incorporated herein by reference.

    36.      Thereafter, the agents continued to detain the Plaintiff and questioned

the Plaintiff for approximately two hours. They questioned Plaintiff regarding his



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background, personal life and purpose of his trip to Canada. Significantly,

Plaintiff was asked no questions relating to border control, customs, trade,

immigration, or terrorism, and at no point did the agents suggest that plaintiff had

broken the law or that his cell phone contained any illegal material. Plaintiff

answered their questions truthfully and to the best of his ability.

    37.      When Plaintiff was finally allowed to leave, they returned his cell

Phone and informed the Plaintiff that its contents have been copied for

examination. However, they did not indicate what information had been copied

from his cell phone, what agencies or individuals would have access to any copies

made, and whether any such copies would ultimately be destroyed or stored.

                       The Search, Retention, and Dissemination
                     of the Contents of Plaintiff’s Electronic Device

    38.      Formal policy statements issued in 2009 by both CBP and ICE

purport to authorize border agents to detain an international traveler’s “electronic

devices,” broadly defined as devices which “contain information.” CBP Directive

No. 3340-049, “Border Search of Electronic Devices Containing Information”

(Aug. 20, 2009); ICE Directive No. 7-6.1, “Border Searches of Electronic

Devices” (Aug. 18, 2009). These policies permit government officials to read

and/or analyze the contents of such devices without any basis for suspicion of

wrongdoing. This authority extends to any information which they may discover,

without regard to whether that information is personal, confidential, or even

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privileged.

    39.       Both CBP and ICE policies permit the detention of seized items after

the traveler has left the border for purpose of further reading or analysis. The

policies also authorize the sharing of a traveler’s devices or information obtained

from those devices with other government agencies or private parties for the

purpose of obtaining assistance in the search and analysis of their contents.

    40.       Although the CBP and ICE Policies purport to limit retention of

information gleaned from a traveler’s electronic devices, retention is permitted

whenever the information is deemed “relevant” to immigrations, customs, or any

other law enforcement matter, and any retained information may be shared with

federal, state, local, and foreign law enforcement agencies.

    41.       Plaintiff alleges on information and belief that agents of Defendants,

acting pursuant to established CBP and ICE policies, reviewed and copied the

contents of his electronic devices, that this information has been retained by

Defendants, and that it has been disclosed to and retained by other government

agencies.

    42.       Plaintiff’s cell phone contained private and sensitive materials which

he did not intend to expose to view by others without his consent. This included

personal and private information as well as confidential and privileged

information concerning his work on behalf of his clients which he chose to record



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or store in his cell phone.

    43.      The information stored on the cell phone taken from the Plaintiff

included his personal e-mail communications covering a period of several years,

including confidential communications sent to and from his clients as well as

messages to family members and friends and messages concerning attorney-

client related matters, records of his personal finances, work in progress, and

passwords allowing access to his bank account, his workplace computer, and

secure communications websites.

    44.      At no point during the seizure, transfer, search, and detention of

Plaintiff’s cell phone or the copying, dissemination, and retention of information

derived from them did the government have reasonable suspicion to believe that

Plaintiff’s devices contained any material constituting a violation any law

respecting customs, immigration, or terrorism.

                              FIRST CAUSE OF ACTION
    45.      The detention and search of Plaintiff’s electronic devices, and

Defendants’ continued retention and dissemination of the information they

contained, are unreasonable and violate the Fourth Amendment to the United

States Constitution.


                              SECOND CAUSE OF ACTION
   46. The detention and search of Plaintiff’s electronic devices, and Defendants’



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continued retention and dissemination of the information they contained, violate

the First Amendment to the United States Constitution.


                                PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court:

   A. Declare that the detention and seizure of Plaintiff’s cell phone and the

       review, copying, retention, and dissemination of its contents without

       reasonable suspicion violates the Fourth and First Amendments to the

       United States Constitution.

   B. Enter preliminary and permanent injunctions requiring Defendants to

       return to Plaintiff all information in their possession, custody or control

       obtained from Plaintiff’s cell phone and, to the extent the information

       cannot be returned, to expunge or otherwise destroy that information.

   C. Enter preliminary and permanent injunctions requiring Defendants to

       disclose to Plaintiff:

       (1) whether any information obtained from Plaintiff’s cell phone has been

       disclosed or disseminated to any other agencies, organizations, individuals,

       or foreign governments, including but not limited to those agencies from

       which CBP and/or ICE sought technical assistance in accessing the

       information;

       (2) when and in what form any such disclosure or dissemination occurred;


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       and (3) the specific data or information which was disclosed or

       disseminated, and to whom.

   D. Award Plaintiff reasonable attorneys’ fees and costs.

   E. Grant any other relief the Court deems appropriate.

Dated: December 23, 2016

                                      Respectfully submitted,


                                      By: /S/George Anibowei
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